         Case 1:21-cr-00208-APM Document 60 Filed 03/14/22 Page 1 of 15



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                 v.                                                   Case No.: 21-cr-208-APM

 THOMAS WEBSTER,

                                 Defendant.


            MOTION IN LIMINE TO PRECLUDE CLAIMS OF SELF-DEFENSE,
                    NECESSITY, JUSTIFICATION, AND DURESS,
               AND TO EXCLUDE EVIDENCE IN SUPPORT THEREOF


        The United States of America respectfully files this motion in limine to preclude the

defendant, Thomas Webster, from raising the affirmative defenses of self-defense, necessity,

justification, and duress at trial. As illustrated by video recordings of Webster’s assault, the facts,

as a matter of law, do not support a claim of self-defense because Webster was the initial aggressor

and responded with greater force than necessary for any alleged self-protection. The facts further

do not support a claim of necessity, justification, or duress, as a matter of law, because Webster

had a reasonable, legal alternative both to violating the law and to avoid the threatened harm. In

the alternative, the government requests that the Court direct Webster to provide a pre-trial proffer

of facts to allow the parties to argue, and the Court to decide, whether he is entitled to assert any

of these defenses. If the Court defers its ruling until trial, the United States respectfully moves this

Court to preclude Webster from raising any affirmative defenses in his opening statement and

cross-examinations until the Court decides the present motion.
         Case 1:21-cr-00208-APM Document 60 Filed 03/14/22 Page 2 of 15



                                        BACKGROUND

       In Count One of the Indictment, Webster is charged with one count of assaulting, resisting,

or impeding a federal officer using a deadly and dangerous weapon, namely, a metal flagpole, in

violation of 18 U.S.C. § 111(a)(1) and (b). ECF No. 39.

        On January 6, 2021, at 2:28 p.m., Webster initiated a physical altercation with

Metropolitan Police Department Officer N.R. on the Lower West Terrace of the U.S. Capitol.

Officer N.R.’s body-worn camera recorded Webster as he emerged from the crowd and approached

the line of metal barricades where Officer N.R. stood. See Exh. 204. 1 Webster, who carried a

metal flagpole in his right hand, pointed his finger in Officer N.R.’s face and shouted: “You

f***ing piece of s**t. You f***ing commie, motherf***ers, man. You wanna attack Americans?

No, f*** that.” As this occurred, Officer N.R. repeatedly tried to swat Webster’s hand away.

       Seconds later, Webster switched the flagpole to his left hand, shouted, “A f***ing Marine?

You f***ing commie f***,” and appeared to touch or push Officer N.R.’s hand. Officer N.R. then

used his open hand to push Webster away from the barricade. 2 Webster continued shouting,

“Come on, take your s*** off! Take your s*** off, you communist motherf***ers.” He then

pushed the metal barricade into Officer N.R. Officer N.R. responded by pushing Webster away,

with his open hand contacting Webster’s face. In response, Webster struck his metal flagpole at

the barricade in front of Officer N.R., causing it to break in half. Webster used the remaining half

of the flagpole to again strike the barricade, narrowly missing Officer N.R.




1
 Exhibit 204, a 56-second clip from Officer N.R.’s body-worn camera from January 6, 2021, is
being provided to the Court and defense counsel via USAfx.
2
  The government expects that Webster’s claim of self-defense will not be based on this push,
but on Officer N.R.’s subsequent contact with Webster’s face. See ECF No. 54, at 2 (claiming
that an alleged “punch[ ] in the face . . . precipitated the events leading to Webster’s arrest”).

                                                 2
         Case 1:21-cr-00208-APM Document 60 Filed 03/14/22 Page 3 of 15



        Officer N.R. repositioned himself, at which point Webster lunged toward Officer N.R. with

the flagpole. Officer N.R. wrested the flagpole away from Webster’s grip before falling backward

to the ground. Officer N.R. stood up and retreated several yards. Webster, visibly enraged, then

charged at and tackled Officer N.R. to the ground. Webster and Officer N.R. wrestled before

another rioter came to Officer N.R.’s rescue.

        Below is a chronological series of still shots from Officer N.R.’s body-worn-camera

footage, which the government provided to Webster in discovery. See Exh. 204. The date and

time stamp can be seen in the upper right corner of each still shot.




    Figure 1: Webster approaches the line of metal bike rack barricades where Officer N.R. is standing, shouts
                            profanities, and points his finger in Officer N.R.’s face.




                                                        3
Case 1:21-cr-00208-APM Document 60 Filed 03/14/22 Page 4 of 15




       Figure 2: Officer N.R. uses an open hand to swat Webster’s left hand away.




   Figure 3: Webster’s right hand appears to make contact with Officer N.R.’s left hand.




                                            4
Case 1:21-cr-00208-APM Document 60 Filed 03/14/22 Page 5 of 15




 Figure 4: Officer N.R. uses an open hand to push Webster away from the metal barricade.




             Figure 5: Webster pushes the metal barricade into Officer N.R.




                                           5
        Case 1:21-cr-00208-APM Document 60 Filed 03/14/22 Page 6 of 15




          Figure 6: Officer N.R. pushes Webster away, with his open hand contacting Webster’s face.




Figure 7: Webster strikes his metal flagpole at the barricade in front of Officer N.R., causing it to break in half.




                                                         6
         Case 1:21-cr-00208-APM Document 60 Filed 03/14/22 Page 7 of 15




             Figure 8: Webster uses the remaining half of the flagpole to again strike the barricade,
                                         narrowly missing Officer N.R.




Figure 9: After Officer N.R. repositions himself, Webster lunges toward him with the flagpole. Officer N.R. wrests
                  the flagpole away from Webster’s grip before falling backward to the ground.




                                                        7
         Case 1:21-cr-00208-APM Document 60 Filed 03/14/22 Page 8 of 15




Figure 10: After Officer N.R. retreats, Webster, visibly enraged, charges at and tackles Officer N.R. to the ground.




               Figure 11: Webster charges toward Officer N.R. before tackling him to the ground.




                          Figure 12: Webster wrestles with Officer N.R. on the ground.




                                                         8
         Case 1:21-cr-00208-APM Document 60 Filed 03/14/22 Page 9 of 15



                                            ARGUMENT

       A pretrial ruling on the availability of Webster’s proposed affirmative defenses is

appropriate here. “If . . . an affirmative defense consists of several elements and testimony

supporting one element is insufficient to sustain it, even if believed, the trial court and jury need

not be burdened with testimony supporting other elements of the defense.” United States v. Bailey,

444 U.S. 394, 416 (1980); see also United States v. Lebreault-Feliz, 807 F.3d 1, 4 (1st Cir. 2015)

(“[W]hen the proffer in support of an anticipated affirmative defense is insufficient as a matter of

law to create a triable issue, a district court may preclude the presentation of that defense entirely.”

(citation omitted)); United States v. Portillo-Vega, 478 F.3d 1194, 1197-98 (10th Cir. 2007) (“A

defendant must carry his burden on each of the elements [of the affirmative defense]; if the

evidence is insufficient on even one element, the trial court and jury need not be burdened with

testimony supporting other elements of the defense.” (internal quotation marks omitted)).

“[W]here the evidence proffered in response to the motion in limine is insufficient as a matter of

law to support the affirmative defense a pre-trial ruling precluding the presentation of the defense

at trial is appropriate.” United States v. Tokash, 282 F.3d 962, 967 (7th Cir. 2002).

I.     Webster Cannot, as a Matter of Law, Assert Self Defense.

       Section 111 makes it a crime to “forcibly assault[], resist[], oppose[], impede[],

intimidate[], or interfere[] with” a federal officer in the performance of the officer’s duties. 18

U.S.C. § 111(a)(1). To raise a valid claim of self-defense to a charge of assault under Section 111,

the defendant must show (1) that he reasonably believed the use of force was necessary to defend

himself or another against an immediate use of excessive force by a federal law enforcement

officer; and (2) he used no more force than appeared reasonably necessary in the circumstances.

United States v. Urena, 659 F.3d 903, 906-07 (9th Cir. 2011) (quoting United States v. Biggs, 441

F.3d 1069, 1071 (9th Cir. 2006)); United States v. Span, 970 F.2d 573, 576-77 (9th Cir. 1992);


                                                   9
        Case 1:21-cr-00208-APM Document 60 Filed 03/14/22 Page 10 of 15



United States v. Weekes, 517 F. App’x 508, 510-11 (6th Cir. 2013); United States v. Middleton, 690

F.2d 820, 826 (11th Cir. 1982) (“[S]elf-defense is a defense which justifies the use of a reasonable

amount of force against an adversary when a person reasonably believes that he is in immediate

danger of unlawful bodily harm from his adversary and that the use of such force is necessary to

avoid this danger.”). See generally United States v. Waldman, 835 F.3d 751, 754 n.1 (7th Cir.

2016) (collecting cases).

       Apart from these prerequisites, “a defendant cannot claim self-defense if he was the

aggressor or if he provoked the conflict upon himself.” Waters v. Lockett, 896 F.3d 559, 569 (D.C.

Cir. 2018). That principle applies fully to Section 111 prosecutions. See, e.g., United States v.

Mumuni Saleh, 946 F.3d 97, 110 (2d Cir. 2019) (“Mumuni was the initial aggressor in the

altercation with Agent Coughlin; as such, he could not, as a matter of law, have been acting in self-

defense”); United States v. Acosta-Sierra, 690 F.3d 1111, 1126 (9th Cir. 2012) (“[A]n individual

who is the attacker cannot make out a claim of self-defense as a justification for an assault.”);

Urena, F.3d at 907 (an individual who is the attacker cannot make out a claim of self-defense as a

justification for an assault); Weekes, 517 F. App'x at 510–11 (same).

       Thus, Webster would be entitled to a jury instruction on self-defense only if he could

establish each of the following: (1) he was not the initial aggressor; (2) he reasonably believed that

his use of force was necessary to defend against Officer N.R.’s immediate use of excessive force;

and (3) he responded with no more force than reasonably necessary under the circumstances. As

video footage shows, Webster fails each of these conditions.

       A.      Webster Cannot, as the Initial Aggressor, Assert Self-Defense.

       The video evidence demonstrates that Webster was the initial aggressor. He emerged

from the crowd, immediately shouted profanities at Officer N.R., and jabbed a finger in Officer

N.R.’s face. Webster then forcefully pushed the metal barricade into Officer N.R.’s body. At


                                                 10
        Case 1:21-cr-00208-APM Document 60 Filed 03/14/22 Page 11 of 15



this point, Officer N.R. responded by pushing Webster away. In so doing, Officer N.R.’s open

hand contacted the side of Webster’s face.

       As this sequence shows, Webster provoked the conflict with Officer N.R., who was

defensively positioned behind the barricade line and preventing the mob of rioters from further

approaching the Capitol building. As the instigator, Webster cannot, as a matter of law, defeat

the Section 111 charge by asserting self-defense.

       B.      Webster’s Use of Force Was Objectively Unreasonable.

       The law precludes Webster from asserting self-defense for a second reason: no objectively

reasonable person in Webster’s position would have believed that Officer N.R responded with

excessive force. See United States v. Acosta-Sierra, 690 F.3d 1111, 1126 (9th Cir. 2012).

       The video evidence shows that Webster illegally entered a restricted area of the U.S.

Capitol and attempted to disrupt a law-enforcement barricade designed to prevent rioters from

further approaching the U.S. Capitol building. At this point, law enforcement had probable cause

to arrest Webster for violations of federal criminal law. See Maryland v. Pringle, 540 U.S. 366,

370 (2003) (“A warrantless arrest of an individual in a public place for a felony, or a misdemeanor

committed in the officer’s presence, is consistent with the Fourth Amendment if the arrest is

supported by probable cause.”).

       Officer N.R. responded to Webster’s conduct with a reasonable display of force. See

United States v. Drapeau, 644 F.3d 646, 653-654 (8th Cir. 2011) (defining excessive force as

“force that was unreasonable or unnecessary under the circumstances, i.e., greater than the amount

of force that was objectively reasonable”). The video evidence shows that Officer N.R. pushed

Webster with an open hand to create distance between himself and Webster. Officer N.R. later

used an open hand to shield himself from Webster’s flagpole. At no point did Officer N.R. threaten

Webster with lethal force or a lethal weapon.


                                                11
        Case 1:21-cr-00208-APM Document 60 Filed 03/14/22 Page 12 of 15



       Given that Officer N.R. had the right to physically detain and arrest Webster at this

moment, his conduct in pushing Webster back from the police barricade reflected a “reasonable[]

[display] of force based on the facts and circumstances.” Oberwetter v. Hilliard, 639 F.3d 545,

555 (D.C. Cir. 2011) (internal quotation marks, brackets, and citation omitted) Webster had just

approached Officer N.R., shouted expletives at him, and raised his finger. Officer N.R. also lacked

knowledge as to whether Webster was armed with a weapon or otherwise intended to harm the

line of officers. His decision to push Webster back from the barricade reflected a reasonable use

of force under the circumstances.

       Defense counsel has advised the government that he may adduce expert testimony that

Officer N.R.’s defensive actions toward Webster violated police procedures or standards. But such

testimony would not “assist the trier of fact to understand the evidence or to determine a fact in

issue” for a self-defense claim—whether Webster reasonably believed that Officer N.R. had used

excessive force against him. 3 Fed. R. Evid. 702. As the Eleventh Circuit has observed, “the

evidence relevant to [a defendant’s] self-defense claim was his perception of the officers’ actions

that morning, not whether the officers followed proper procedure.” United States v. Wilk, 572 F.3d

1229, 1235 (11th Cir. 2009) (emphasis added); see also United States v. Swint, 2012 WL 3962704,

at *2 (D. Ariz. Sept. 11, 2012) (“[Expert’s] opinion that the officers’ actions constituted excessive

force is not relevant because the issue in Defendant’s self defense claim is the reasonableness of

his belief that his use of force was necessary, not whether the officers acted unreasonably or

contrary to proper training and procedures.”). An expert cannot opine on the question whether

Webster’s perceptions of Officer N.R’s conduct met the self-defense standard. See Fed. R. Evid.


3
 The government does not believe that expert testimony on police protocols would be relevant to
any disputed issue at trial. If defense counsel provides notice of intent to call such an expert, see
Fed. R. Crim. P. 16(b)(1)(C), the government will file a separate motion in limine seeking to
exclude this testimony.

                                                 12
        Case 1:21-cr-00208-APM Document 60 Filed 03/14/22 Page 13 of 15



704 (“[A]n expert witness must not state an opinion about whether the defendant did or did not

have a mental state or condition that constitutes an element of . . . a defense”).

       C.         Webster Responded With Greater Force Than Necessary for Self-Protection.

       Even if it was objectively reasonable for Webster to respond with some force to Officer

N.R., any claim of self-defense still fails because Webster responded with greater force than

necessary to protect himself. See Waters, 896 F.3d at 570 (self-defense not applicable “if [the

defendant] and his co-conspirators used excessive force to repel Hargrove’s attack”). In response

to Officer N.R. pushing his face away with an open palm, Webster swung a metal flagpole at

Officer N.R. After Officer N.R. retreated a few feet, Webster physically charged at Officer N.R.

and tackled him to the ground. This occurred notwithstanding the fact that Webster had a

reasonable alternative: he could have simply retreated from the police barricade back into the mob.

       In short, Webster had a clear pathway to avoid further engagement after Officer N.R.

pushed him. Webster instead did the opposite: he swung a dangerous object, rushed at the officer,

and tackled him to the ground. This response was so forceful and violent that another rioter

intervened to prevent Webster from further attacking Officer N.R. Webster’s disproportionate

escalation provides yet another basis to preclude any self-defense invocation to the Section 111

assault charge.

       For each of these reasons, any self-defense assertion fails as a matter of law in this case.

Webster therefore should be precluded from presenting evidence or testimony regarding self-

defense, and from referencing or suggesting self-defense in statements to the jury.

II.    Webster Cannot, as a Matter of Law, Advance any Other Affirmative Defense.

       For these same reasons, Webster will be unable to present a valid defense of necessity,

justification, or duress. The affirmative defenses of necessity, justification, and duress are not

available where there was a “reasonable, legal alternative to violating the law, a chance both to


                                                 13
        Case 1:21-cr-00208-APM Document 60 Filed 03/14/22 Page 14 of 15



refuse to do the criminal act and also to avoid the threatened harm.” Bailey, 444 U.S. at 410. Here,

Webster could have avoided any potential threatened harm by avoiding the restricted area of the

U.S. Capitol. He instead deliberately entered that area, approached a police barricade, and

antagonized the officers. Moreover, Webster had a reasonable, legal alternative after Officer N.R.

pushed him: he could have retreated. Webster instead did the opposite and physically attacked:

first with a flagpole, and then by rushing and tackling the officer. Accordingly, Webster cannot

legally invoke these affirmative defenses and should be precluded from arguing them to the jury.

                                         CONCLUSION

       For the reasons set forth above, the United States respectfully moves the Court to preclude

Webster from raising the affirmative defenses of self-defense, necessity, justification, and duress

at trial. In the alternative, the United States respectfully moves this Court to require Webster to

make a pre-trial proffer of facts that would permit the Court to decide whether he is entitled as a

matter of law to assert any of these affirmative defenses. If the Court defers its ruling until the

evidence is presented at trial, the United States respectfully moves this Court to preclude Webster

from raising any affirmative defenses in his opening statement.

       Dated: March 14, 2022

                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney

                                              By:    _____/s/ Hava Mirell
                                                     HAVA MIRELL
                                                     Assistant United States Attorney, Detailee
                                                     United States Attorney’s Office
                                                     District of Columbia
                                                     CA Bar No. 311098
                                                     555 4th Street, N.W.
                                                     Washington, D.C. 20530
                                                     (213) 894-0717
                                                     Hava.Mirell@usdoj.gov


                                                14
Case 1:21-cr-00208-APM Document 60 Filed 03/14/22 Page 15 of 15




                                   _____/s/ Katherine Nielsen
                                   KATHERINE NIELSEN
                                   Trial Attorney, Detailee
                                   United States Attorney’s Office
                                   District of Columbia
                                   D.C. Bar No. 491879
                                   555 4th Street, N.W.
                                   Washington, D.C. 20530
                                   (202) 355-5736
                                   Katherine.Nielsen@usdoj.gov

                                   _____/s/ Brian P. Kelly
                                   BRIAN P. KELLY
                                   Assistant United States Attorney
                                   United States Attorney’s Office
                                   District of Columbia
                                   D.C. Bar No. 983689
                                   555 4th Street, N.W.
                                   Washington, D.C. 20530
                                   (202) 252-7503
                                   Brian.Kelly3@usdoj.gov




                              15
